                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


  UNITED STATES OF AMERICA                       )
                                                 )
                                                 )              No. 2:19-cr-00096
  v.                                             )              Hon. J. Ronnie Greer, Sr. USDJ
                                                 )              Hon. Cynthia R. Wyrick, USMJ
                                                 )
  William Roger Woodie, et al.                   )


                             NOTICE OF WITHDRAWAL MOTION

         The Defendant CARL FRANKLIN BLANKENSHIP, by undersigned counsel, hereby

  gives notice of withdrawal of his motion to appoint substitute counsel [RE 634; PageID #: 3379].

  This is without prejudice to this Defendant’s right to renew his motion should a need arise. This

  Defendant waives his right to appear in person or by video at the hearing scheduled on this

  pending motion.

                                                 Respectfully submitted,


                                                 s/ Francis L. Lloyd, Jr.
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                                      CERTIFICATE OF SERVICE
           I hereby certify that a copy of this document was filed electronically. Notice of this filing
  will be sent by operation of the Court’s electronic filing system to all parties indicated on the
  electronic filing receipt. All other parties will be served by regular U.S. Mail. Parties may access
  this filing through the Court’s electronic filing system.

                                                 s/ Francis L. Lloyd, Jr.



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